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8                             UNITED STATES DISTRICT COURT
9                           SOUTHERN DISTRICT OF CALIFORNIA
10
11   United States of America,                           Case No.: 19CR5176-JLS
12                                      Plaintiff,
                                                         ORDER AUTHORIZING
13   v.                                                  VIDEO TELECONFERENCE
14   LILIANA LIZETH ZAMORA-
     HERNANDEZ
15
                                      Defendant.
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17
             A national state of emergency has been declared in response to the spread of the
18
     Coronavirus. For everyone’s health and safety, the general population of California is
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     under a gubernatorial order to “shelter-in-place.” The detention facilities have imposed
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     quarantines or restrictions on access to detainees for the health of the detainees and staff.
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     The Judicial Conference of the United States found that conditions due to the national
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     emergency are materially affecting the functioning of the federal courts, and the Judicial
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     Council of the Ninth Circuit certified that emergency conditions existing in the Southern
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     District of California justify the temporary suspension of the 70-day period to bring the
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     defendant to trial. Public health recommendations and restrictions have impacted the
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     Court's ability to function as it usually does, to conduct in-person proceedings, and has
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     impaired the availability of counsel, parties, and Court staff to be present in the courtroom.
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2            I therefore find pursuant to the CARES Act that the use of videoconferencing to
3    conduct these court proceedings, with the consent of the defendant, is in the interest of
4    justice in that such procedure will prevent the defendant from remaining incarcerated
5    longer than is necessary and will satisfy the objectives of sentencing under the U.S.
6    Sentencing Guidelines and 18 U.S.C. § 3553.
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8    Dated: June 30, 2020
                                           ________________________________________
9
                                           Honorable Janis L. Sammartino
10                                         United States District Judge
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